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     MARYELLIS BUNN, and
   8 1AND8 INC., dba MUSEUM OF ICE
     CREAM
   9
 10                               UNITED STATES DISTRICT COURT
 11               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 PRETTY IN PLASTIC, INC., a                         Case No. 2:18-cv-06091-GW (SKx)
    California corporation,
 14                                                    DEFENDANTS’ NOTICE OF
                 Plaintiff,                            MOTION AND MOTION TO
 15                                                    DISMISS FIRST AMENDED
          v.                                           COMPLAINT
 16
    MARYELLIS BUNN, an individual;                     Date: January 24, 2019
 17 and1AND8 INC., a Delaware                          Time: 8:30 a.m.
    corporation dba MUSEUM OF ICE                      Crtrm.: 9D
 18 CREAM,
                                                       The Hon. George H. Wu
 19                       Defendants.
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                                                                     Case No. 2:18-cv-06091-GW (SKx)
       SMRH:488655283.3                 DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS FAC
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   1                                  NOTICE OF MOTION
   2           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   3           PLEASE TAKE NOTICE THAT on January 24, 2019, at 8:30 a.m., or as
   4 soon thereafter as the matter may be heard before the Honorable George H. Wu,
   5 U.S. District Judge of the Central District of California, in Courtroom 9D of the
   6 United States Courthouse, 350 West 1st Street, Los Angeles, California, defendants
   7 Maryellis Bunn and 1AND8, Inc. dba Museum of Ice Cream (“MOIC”)
   8 (collectively, “Defendants”) will and hereby do move the Court for an order
   9 dismissing with prejudice the claims brought by plaintiff Pretty in Plastic, Inc.
 10 (“Plaintiff”) in its First Amended Complaint for: (1) copyright infringement; (2)
 11 breach of contract; (3) unjust enrichment; and (4) unfair competition under Cal. Bus.
 12 & Prof. Code §§ 17200 et seq. and California common law. [Docket No. 24.]
 13 Plaintiff’s claims for copyright infringement, unjust enrichment, and unfair
 14 competition fail to state a claim upon which relief may be granted and should be
 15 dismissed under Rule 12(b)(6) of the Federal Rules of Civil Procedure. Plaintiff’s
 16 claims for breach of contract, unjust enrichment, and unfair competition should also
 17 be dismissed against MOIC, as Plaintiff has failed to allege sufficient supporting
 18 facts concerning MOIC.
 19            The parties met and conferred regarding the substance of this motion as
 20 required by Local Civil Rule 7-3, including by participating in a telephonic
 21 conference on December 6, 2018, during which the parties discussed Plaintiff’s
 22 claims and the applicable law. Plaintiff declined to withdraw or amend its claims.
 23 (See Declaration of Gazal Pour-Moezzi in Support of Motion to Dismiss FAC, ¶ 2.)
 24            This Motion is based on this Notice and the Memorandum of Points and
 25 Authorities provided below, the Declaration of Gazal J. Pour-Moezzi in Support of
 26 Motion to Dismiss FAC, Request for Judicial Notice in Support of Motion to
 27 Dismiss FAC, the pleadings and papers on file, and any other matters as the Court
 28 may consider.

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   1 Dated: December 13, 2018
   2                             SHEPPARD, MULLIN, RICHTER & HAMPTON
   3                             LLP

   4                             By             /s/ Carlo F. Van den Bosch
   5                                           CARLO F. VAN DEN BOSCH
                                                 GAZAL POUR-MOEZZI
   6                                             Attorneys for Defendants
   7                                               MARYELLIS BUNN
                                             1AND8 INC., dba MUSEUM OF ICE
   8                                                      CREAM
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   1                      MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.        INTRODUCTION
   3           Following a spirited hearing about the physical attributes of “all” unicorns,
   4 this Court dismissed three of Plaintiff’s four claims with leave to amend. And,
   5 following Plaintiff’s half-hearted attempt at amendment, a cognizable legal claim
   6 remains as elusive as the gold-horned equine.
   7           The amended complaint fails to allege plausible claims for copyright
   8 infringement, unjust enrichment, and unfair competition. Plaintiff has amended its
   9 copyright claim simply by alleging, in a single added paragraph, that the parties’
 10 unicorns are similar because they are (1) full-bodied unicorns, (2) white, (3)
 11 monochromatic, and (4) possess a golden horn. Yet, the Court already has
 12 examined these elements, finding them standard features commonly associated with
 13 unicorns. After two opportunities, it is clear that Plaintiff cannot plausibly allege
 14 that the works are substantially similar in any protected elements.
 15            Plaintiff also has failed to salvage its claim for unjust enrichment. Although
 16 Plaintiff now alleges that this claim is based upon a “breach of confidence,” as a
 17 matter of law, Plaintiff cannot allege a crucial element of this claim, specifically,
 18 that its proffered idea (i.e., a white unicorn) was novel.
 19            Similarly, Plaintiff has failed to add any factual allegations to its unfair
 20 competition claim, which remains grounded in the alleged unauthorized use of
 21 Plaintiff’s design proposal. As this Court previously determined, this type of claim
 22 is preempted by the Copyright Act.
 23            Finally, Plaintiff has failed to state an actionable claim for breach of contract
 24 against MOIC because MOIC was not a signatory to the NDA. It is well established
 25 that a plaintiff may not assert a claim for breach of contract against a non-signatory.
 26            Despite two chances to plead plausible claims in this action, it is clear that
 27 Plaintiff is unable to salvage its claims. Accordingly, they must now be dismissed
 28 without leave to amend.

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   1 II.       FACTUAL BACKGROUND
   2           A.         The Parties And Their Prior Association
   3           MOIC, which was co-founded by defendant Maryellis Bunn, is an interactive
   4 “pop-up” art exhibit which features brightly colored rooms designed around a
   5 central ice cream theme. [First Amended Complaint (“FAC”), ¶¶ 8, 10.] MOIC
   6 opened its first location in 2016 in New York City, and has since launched exhibits
   7 in Los Angeles and San Francisco. [Id., ¶¶ 8, 11, 19.] MOIC has achieved
   8 significant success and publicity, being dubbed “one of the most Instagrammed
   9 spaces in the country” and having been visited by celebrities like Beyonce, Kim
 10 Kardashian, and Drew Barrymore. [FAC, ¶ 30]; (Declaration of Gazal Pour-
 11 Moezzi in Support of Motion to Dismiss FAC (“Pour-Moezzi Decl.”), ¶ 3, Ex. A).
 12            To create its ice cream themed rooms, MOIC sometimes works with other
 13 artists. [See FAC, ¶ 11.] In 2016, MOIC decided to include a rainbow themed room
 14 in a future project. [See id., ¶ 12.] Subsequently, Pretty in Plastic, Inc. (“Plaintiff”)
 15 submitted a bid for several designs, including a “rainbow sherbet” room. [Id., ¶ 12.]
 16 Plaintiff requested that Ms. Bunn sign an NDA prior to sharing its proposal. [Id., ¶
 17 14.] Ms. Bunn signed the NDA and returned it to Plaintiff on November 3, 2016.
 18 [Id.] MOIC did not sign the NDA, nor is MOIC mentioned in the NDA. (Pour-
 19 Moezzi Decl., ¶ 4, Ex. B.) In November 2016, Plaintiff submitted its proposals,
 20 including one for the rainbow themed room, as illustrated below (“Plaintiff’s
 21 Work”). [FAC, ¶¶ 16-17.]
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  12           Ultimately, Ms. Bunn did not agree to use any of Plaintiff’s proposals,
  13 including the one shown above. [Id., ¶ 18.]
  14           B.         MOIC Opens A Location In San Francisco
  15           In September 2017, MOIC opened a pop-up exhibit in San Francisco, which
  16 featured, among other rooms, a rainbow themed room, as illustrated below (the
  17 “MOIC Rainbow Room”). (See Pour-Moezzi Decl., ¶ 5, Ex. C.)
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   1           C.         Plaintiff Sues Defendants Because The MOIC Rainbow Room
                          Includes A Unicorn
   2
               On July 13, 2018, nearly one year after MOIC opened its San Francisco
   3
       location, Plaintiff filed this action against MOIC and Ms. Bunn, asserting claims for
   4
       (1) copyright infringement, (2) breach of contract, (3) unjust enrichment, and (4)
   5
       unfair competition. [See generally Doc. No. 1.]
   6
               D.         The Court Dismissed Three Of Plaintiff’s Claims With Leave To
   7                      Amend
   8           On November 8, 2018, the Court dismissed, with leave to amend, Plaintiff’s
   9 copyright infringement, unjust enrichment, and unfair competition claims. [Doc.
  10 No. 23 (the “Order”).]
  11           For the copyright claim, the Court assessed “whether the Plaintiff’s color
  12 scheme of a monochromatic white body and gold horn is protectable.” [Id.] The
  13 Court concluded that “a white unicorn is a common enough trope that the Court
  14 would not find that aspect of Plaintiff’s work to be protectable.” [Id.] Similarly, the
  15 Court found that “a golden horn . . . is a pretty standard feature of depictions of
  16 unicorns and would not find it protectable.” [Id.] The Court even noted that it
  17 “would not be persuaded by the monochromatic aspect [of Plaintiff’s work] either.”
  18 [Id.] Ultimately, the Court dismissed the copyright claim because Plaintiff “fail[ed]
  19 to demonstrate infringement of protectable aspects of its work.” [Id. at 9.]
  20           The Court also dismissed Plaintiff’s claims for unjust enrichment and unfair
  21 competition, finding that the Copyright Act preempted these claims. [Id. at 10-11.]
  22 The Court disagreed with Plaintiff that these claims were based on breach of a
  23 confidential relationship because handing over information in confidence does not,
  24 by itself, create a “confidential relationship.” [Id.]
  25           Although these claims were dismissed, the Court granted Plaintiff leave to file
  26 an amended complaint. [Id. at 12.]
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   1           E.         Plaintiff Files Its FAC
   2           Plaintiff filed its FAC on November 29, 2018, attempting to cure the defects
   3 addressed by the Court’s Order. [Doc. No. 24 (“FAC”).]
   4           The FAC contains only a single new allegation pertaining to Plaintiff’s
   5 copyright infringement claim, specifically paragraph 42, which states:
   6           The selection and arrangement of a full-bodied, monochromatic, semi-
               gloss white unicorn with approximately eight visible spirals on a long,
   7           shiny gold horn, as depicted in the Pretty in Plastic Rainbow Sherbet
               Room Design Proposal, is an original depiction of a unicorn. The
   8           combination of these elements is original and had never been publicly
               disclosed before Defendants copied this combination of elements,
   9           including in the San Francisco location of the MOIC.
  10 [FAC, ¶ 42.]
  11           The FAC also adds several new allegations to Plaintiff’s unjust enrichment
  12 claim, in an attempt to ground this claim in a “breach of confidence.” [See FAC, ¶¶
  13 54, 56-62.]
  14 III.      THE FAC SHOULD BE DISMISSED
  15           A.         Legal Standard Applicable To Motion To Dismiss
  16           A motion to dismiss should be granted when a complaint fails “to state a
  17 claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.
  18 544, 570 (2007). To survive a motion to dismiss, a complaint must plead sufficient
  19 facts from which a court could “draw the reasonable inference that the defendant is
  20 liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
  21           For purposes of ruling on a motion to dismiss under Fed. R. Civ. P. 12(b)(6),
  22 courts “accept factual allegations in the complaint as true and construe the pleadings
  23 in the light most favorable to the nonmoving party.” Manzarek v. St. Paul Fire &
  24 Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Courts, however, need not
  25 “assume the truth of legal conclusions . . . cast in the form of factual allegations,
  26 Western Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981), or accept as
  27 true allegations contradicted by judicially-noticeable facts, Epikhin v. Game Insight
  28 N. Am., 2015 U.S. Dist. LEXIS 66188, at *10-11 (N.D. Cal. May 20, 2015).

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   1           Although Rule 12(b)(6) motions are generally limited to the allegations in the
   2 complaint, courts “may consider evidence on which the complaint necessarily relies
   3 if: (1) the complaint refers to the document; (2) the document is central to the
   4 plaintiff’s claim; and (3) no party questions the authenticity of the copy attached to
   5 the 12(b)(6) motion.” Daniels-Hall v. Nat’l Educ. Ass’n., 629 F.3d 992, 998 (9th
   6 Cir. 2010) (citations and internal quotation marks omitted). A court may also
   7 consider “matters properly subject to judicial notice.” Swartz v. KPMG LLP, 476
   8 F.3d 756, 763 (9th Cir. 2007).
   9           B.         Plaintiff Still Fails To State A Claim For Copyright Infringement
  10           To state a claim for copyright infringement, a plaintiff must allege two
  11 elements: “(1) ownership of a valid copyright, and (2) copying of constituent
  12 elements of the work that are original.” Funky Films, Inc. v. Time Warner Entm’t
  13 Co., L.P., 462 F.3d 1072, 1076 (9th Cir. 2006). For this second element, a plaintiff
  14 must allege facts that demonstrate “unlawful appropriation, that is, illicit copying . .
  15 . because copyright law does not forbid all copying.” Rentmeester v. Nike, Inc., 883
  16 F.3d 1111, 1117 (9th Cir. 2018). Indeed, “a defendant incurs no liability if he
  17 copies only the ‘ideas’ or ‘concepts’ used in the plaintiff’s work.” Id. Rather, “[t]o
  18 infringe, the defendant must also copy enough of the plaintiff’s expression of those
  19 ideas or concepts to render the two works ‘substantially similar.’” Id.
  20           To determine whether two works are substantially similar, courts employ “a
  21 two-part analysis consisting of the ‘extrinsic test’ and the ‘intrinsic test.’” Id. at
  22 1118. The extrinsic test—the only test relevant to a motion to dismiss—”assesses
  23 the objective similarities of the two works, focusing only on the protectable
  24 elements of the plaintiff’s expression.” Id. “Before that comparison can be made,
  25 the court must ‘filter out’ the unprotectable elements of the plaintiff’s work—
  26 primarily ideas and concepts, material in the public domain, and scenes a faire
  27 (stock or standard features that are commonly associated with the treatment of a
  28 given subject).” Id. Thus, “[t]he key question always is: Are the works

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   1 substantially similar beyond the fact that they depict the same idea?” Mattel, Inc. v.
   2 MGA Entm’t, Inc., 616 F.3d 904, 917 (9th Cir. 2010) (emphasis added).
   3                      1.   The Works Are Not Substantially Similar As A Matter Of
                               Law
   4
               Plaintiff’s amended claim for copyright infringement rests on the allegation
   5
       that Plaintiff’s and MOIC’s unicorns share the following elements: (i) they are “full-
   6
       bodied;” (ii) “monochromatic,” (iii) “semi-gloss white,” and (iv) have
   7
       “approximately eight visible spirals on a long, shiny gold horn.” [FAC, ¶ 42.]
   8
       However, the Court already has concluded that none of these elements are
   9
       protectable. Indeed, after filtering out these unprotectable elements from Plaintiff’s
  10
       Work, the remaining elements are strikingly different from those present in MOIC’s
  11
       unicorn.
  12
                               a.   Numerous Components Of Plaintiff’s Work Are
  13                                Unprotectable
  14           Before comparing the two works for substantial similarity, the Court must
  15 first “filter out and disregard the nonprotectable elements” of Plaintiff’s Work,
  16 including all “elements of expression that necessarily follow from an idea, or
  17 expressions that are as a practical matter, indispensable or at least standard in the
  18 treatment of an idea.” Muromura v. Rubin Postaer and Associates, No. CV 12-9263
  19 DDP, 2014 WL 4627099, at *2 (C.D. Cal. Sept. 16, 2014).
  20           Of course, Plaintiff does not have a monopoly on all depictions of a unicorn,
  21 as this idea is “within the common heritage of humankind,” and thus free for others
  22 to use. Satava v. Lowry, 323 F.3d 805, 813 (9th Cir. 2003) (copyright protection
  23 does not extend to idea of jellyfish sculpture, nor natural features of jellyfish such as
  24 bright colors, tendril-like tentacles, and rounded bells); Folkens v. Wyland
  25 Worldwide, LLC, 882 F.3d 768, 775 (9th Cir. 2018) (anyone is free to create work
  26 based on the idea of two dolphins crossing under sea); Aliotti v. R. Dakin & Co., 831
  27 F.2d 898, 901-02 (9th Cir. 1987) (“No copyright protection may be afforded to the
  28 idea of producing stuffed dinosaur toys or to elements of expression that necessarily

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   1 follow from the idea of such dolls . . . . Appellants therefore may place no reliance
   2 upon any similarity in expression resulting from either the physiognomy of
   3 dinosaurs or from the nature of stuffed animals.”).
   4           Nor does Plaintiff have a monopoly on elements that are common to the
   5 treatment of unicorns, such as the color or physiology of a unicorn. See Satava, 323
   6 F.3d at 810 (“expressions that are standard, stock, or common to a particular subject
   7 matter or medium are not protectable under copyright law.”).
   8           For example, the color white is unquestionably standard in the treatment of
   9 unicorns. The Merriam-Webster Dictionary defines “unicorn” as:
  10           A mythical, usually white animal generally depicted with the body and
               head of a horse with long flowing mane and tail and a single often
  11           spiraled horn in the middle of the forehead.
  12 (See Request for Judicial Notice in Support of Motion to Dismiss FAC (“RJN”), Ex.
  13 A (emphasis added).) This entry also provides an illustration of a unicorn, which is
  14 depicted with a white body, (RJN, Ex. A at 4), and provides further images which
  15 depict a white unicorn with a gold horn (RJN, Ex. A at 6). (See also RJN, Ex. B
  16 (Encyclopedia Britannica entry noting the earliest description of a unicorn in Greek
  17 literature of a “single-horned” animal “with a white body”).) A “full-bodied”
  18 representation of a unicorn, as well as a golden horn also are functional or common
  19 features, and thus, unprotectable. See, e.g., Aurora World, Inc. v. Ty Inc., 719 F.
  20 Supp. 2d 1115, 1136 (C.D. Cal. 2009) (color of capuchin and lemur stuffed toys
  21 unlikely to be protectible, “given that it resembles the animals as they are found in
  22 nature.”).
  23           Importantly, this Court already has concluded that all of Plaintiff’s proffered
  24 elements (i.e., body of a horse, white and monochromatic coloring, and gold horn)
  25 are standard to the treatment of unicorns and thus, unprotectable:
  26           Therefore, Plaintiff cannot prevent Defendants from copying the
               aspects of its unicorn that stem from a horned-horse’s anatomical
  27           features. . . . A horse walking or standing mid-stride is ‘an idea
               expressed in nature,’ rendering it unprotectable.
  28

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   1           ...
   2           [T]he Court does not think the whiteness of the unicorn is protectable.
               Depicting a unicorn as white seems the ‘standard, stock, or common’
   3           approach to unicorns . . . . [A] white unicorn is a common enough trope
               that the Court would not find that aspect of Plaintiff’s work to be
   4           protectable. Likewise, a golden horn might not be as common an
               image as a white body, but the Court thinks that it is a pretty standard
   5           feature of depictions of unicorns and would not find it protectable. In
               essence, the Court thinks Plaintiff is trying to protect the ‘idea of
   6           producing a [gold and white unicorn and the] elements of expression
               that naturally follow from’ that idea.
   7
               The Court would not be persuaded by the monochromatic aspect either.
   8           Without more, the Court does not think that an animal sculpture that is
               all one color is protectable – it seems like the glass-in-glass technique
   9           in Satava.
  10 (Order at 7-9.)
  11           Because these elements are unprotectable, Plaintiff may not rely on them to
  12 allege copyright infringement against Defendants. Apple Computer, Inc. v.
  13 Microsoft Corp., 35 F.3d 1435, 1446 (9th Cir. 1994) (plaintiff “may place no
  14 reliance upon any similarity in expression resulting from unprotectable elements.”).
  15           Although Plaintiff will likely argue that its combination of elements is
  16 protectable, this argument also fails. The Ninth Circuit’s opinion in Satava is
  17 particularly instructive. There, the Court considered a copyright infringement claim
  18 concerning glass-in-glass sculptures of jellyfish. Satava, 323 F.3d at 807. The
  19 sculpture was described as a “vertically oriented, colorful, fanciful jellyfish with
  20 tendril-like tentacles and a rounded bell” encased in clear glass. Id. While the
  21 Court acknowledged that “a combination of unprotectable elements may qualify for
  22 copyright protection,” this is true “only if those elements are numerous enough and
  23 their selection and arrangement original enough that their combination constitutes an
  24 original work of authorship.” Id. at 811. The Court concluded that “[t]he
  25 combination of unprotectable elements in Satava’s sculpture falls short of this
  26 standard.” Id. Specifically, the Court reasoned that:
  27           The selection of the clear glass, oblong shroud, bright colors,
               proportion, vertical orientation, and stereotyped jellyfish form,
  28           considered altogether, lacks the quantum of originality needed to merit

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   1           copyright protection. See U.S. v. Hamilton, 583 F.2d 448, 451 (9th Cir.
               1978) (“Trivial elements of compilation and arrangement, of course,
   2           are not copyrightable because they fall below the threshold of
               originality.”). These elements are so commonplace in glass-in-glass
   3           sculpture and so typical of jellyfish physiology that to recognize
               copyright protection in their combination effectively would give Satava
   4           a monopoly on lifelike glass-in-glass sculptures of single jellyfish with
               vertical tentacles. See Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499
   5           U.S. 340, 363 (1991) (noting that the selection, coordination, and
               arrangement of phone numbers in a directory ‘is not only unoriginal, it
   6           is practically inevitable’). Because the quantum of originality Satava
               added in combining these standard and stereotyped elements must be
   7           considered ‘trivial’ under our case law, Satava cannot prevent other
               artists from combining them.
   8
       Id. at 811-12. The same analysis applies to Plaintiff’s work. The selection of a full-
   9
       bodied white monochromatic unicorn with a gold spiraled horn, even together, is
  10
       “trivial” and “lacks the quantum of originality needed to merit copyright
  11
       protection.” As this Court has concluded, these elements are standard in the
  12
       treatment of unicorns. Recognizing copyright protection in the combination of these
  13
       elements effectively would grant Plaintiff a monopoly on the depiction of all white
  14
       unicorns with a gold horn. Accordingly, these elements, even combined, remain
  15
       unprotectable.
  16
                             b.    After Filtering Out These Unprotectable Elements,
  17                               Plaintiff’s Unicorn Is Strikingly Different From
                                   MOIC’s Unicorn
  18
               After filtering out these unprotectable elements, a side-by-side comparison of
  19
       the parties’ respective works reveals starkly different expressive elements.
  20
                      Plaintiff’s Unicorn                         MOIC’s Unicorn
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   1           For example, Plaintiff’s unicorn possesses a longer, bulkier and more
   2 muscular torso. By contrast, MOIC’s unicorn features a leaner, shorter, and less
   3 muscular torso. While Plaintiff’s unicorn has shorter, muscular legs, and small
   4 hooves, MOIC’s unicorn has long, thin legs and appreciably larger hooves.
   5 Plaintiff’s unicorn features a long tail and no mane along the back of its neck, while
   6 MOIC’s unicorn has a short, bushy tail, and a mane along its neck. The unicorns’
   7 faces also appear quite distinct as Plaintiff’s unicorns features a fuller face with
   8 robust cheeks and round eyes, whereas MOIC’s unicorn features a thinner face,
   9 almond-shaped eyes and a longer horn. Further, the unicorns are positioned
  10 differently. MOIC’s unicorn stands with its right hind leg behind its left hind leg
  11 and its left front leg behind its right front leg. The legs of MOIC’s unicorn are
  12 positioned in the exact opposite way, namely, its left hind leg is behind its right hind
  13 leg and its right front leg is behind its left front leg. Additionally, while Plaintiff’s
  14 unicorn is depicted with its head, eyes and mouth angled downwards, the head, eyes
  15 and mouth of MOIC’s unicorn are angled upright. And, notwithstanding Plaintiff’s
  16 allegation to the contrary, the horns also are different as the horn of MOIC’s unicorn
  17 is longer and appears at a different angle.
  18           Indeed, the Court has noted these substantial distinctions:
  19           [T]here are many differences between the beasts. Plaintiff’s unicorn is
               shorter and squatter than Defendants’ thin, long-legged version.
  20           Defendants’ unicorn has a short tail and its hooves are bigger. Also, its
               ears are more upright, and its neck is raised so that it is less parallel to
  21           the ground than Plaintiff’s creature. Importantly, the horns themselves
               seem different to the Court both in terms of their length and angle. In
  22           effect, the Court sees the unicorns as pretty different but for the color of
               the body and the horn.
  23
       [Order at 9.]
  24
               In sum, the only commonality between the works is the idea of a white
  25
       monochromatic unicorn with a gold horn – a concept which is unprotectable under
  26
       copyright law.
  27
  28

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   1           The facts of the Ninth Circuit’s recent decision, Rentmeester v. Nike, Inc., 883
   2 F.3d 1111 (9th Cir. 2018) are instructive. There, the plaintiff alleged that Nike
   3 infringed his copyright in a photograph of Michael Jordan when it commissioned its
   4 own photograph of Jordan in the grand jete pose and used the photograph to create
   5 its famous “Jumpman” logo. Id. at 1116. The district court granted Nike’s motion
   6 to dismiss with prejudice, finding no substantial similarity between the two works as
   7 a matter of law. Id. The Ninth Circuit affirmed, finding that the plaintiff could not
   8 plausibly allege that Nike copied enough of the protected expression from his photo
   9 to show substantial similarity. Id. at 1121. After filtering out the nonprotectable
  10 elements of the plaintiff’s work (i.e., plaintiff “cannot prohibit other photographers
  11 from taking their own photos of Jordan in a leaping, grand jete-inspired pose”), the
  12 Ninth Circuit went on to compare the protectable elements of the works, namely the
  13 selection and arrangement of the photos’ elements. Id. at 1121.
  14                      Plaintiff’s Work                            Nike’s Work
  15
  16
  17
  18
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  21
  22           The Court noted numerous differences between the two photos, including:
  23 “[t]he position of each of his limbs in the two photos;” the setting of each photo –
  24 the grassy knoll present in the plaintiff’s photo was missing from Nike’s photo; the
  25 positioning of the basketball hoops – the hoop in the plaintiff’s photo is placed out
  26 of Jordan’s reach, whereas in Nike’s photo, the hoop is easily within Jordan’s reach;
  27 and the background of each photo – while the background of the plaintiff’s photo is
  28 a cloudless blue sky with a large sun, the background of the Nike photo has no sun

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   1 and consists of the Chicago skyline silhouetted against late dusk or early dawn. Id.
   2 at 1121-22.
   3           In light of these material differences, the Court concluded:
   4                      [T]hese differences in selection and arrangement of
                          elements, as reflected in the photos’ objective details,
   5                      preclude as a matter of law a finding of infringement . . . .
                          What Rentmeester’s photo and the Nike photo share are
   6                      similarities in general ideas or concepts: Michael Jordan
                          attempting to dunk in a pose inspired by ballet’s grand
   7                      jete; an outdoor setting stripped of most of the traditional
                          trappings of basketball; a camera angle that captures the
   8                      subject silhouetted against the sky. Rentmeester cannot
                          claim an exclusive right to ideas or concepts at that level
   9                      of generality, even in combination. Permitting him to
                          claim such a right would withdraw those ideas or concepts
  10                      from the “stock of materials” available to other artists, . . .
                          thereby thwarting copyright’s “fundamental objective” of
  11                      “fostering creativity.” Copyright promotes the progress of
                          science and the useful arts by “encouraging others to build
  12                      freely upon the ideas and information conveyed by a
                          work.”
  13
       Id. at 1123 (emphasis added).
  14
               Similarly, in Croak v. Saatchi & Saatchi N. Am., Inc., 174 F. Supp. 3d 829
  15
       (S.D.N.Y. 2016), the district court granted the defendant’s motion to dismiss a
  16
       complaint for copyright infringement. The plaintiff owned a copyright in his
  17
       sculpture featuring a Pegasus breaking through the roof of a car, and sued Toyota
  18
       for copyright infringement related to Toyota’s advertising which featured a car
  19
       transporting a large stuffed hybrid of a unicorn and Pegasus. Id. at 832-33.
  20
                          Plaintiff’s Work                               Toyota’s Work
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  27
  28

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   1           Toyota moved to dismiss the plaintiff’s complaint, contending that the
   2 plaintiff could not show as a matter of law that the two works were substantially
   3 similar. Id. In granting Toyota’s motion to dismiss, the Court first filtered out the
   4 non-protectable elements of the plaintiff’s work. Id. at 835-36. Specifically, the
   5 Court stated that “there can be no question that plaintiff does not have a monopoly
   6 on all depictions of a Pegasus, even those juxtaposed with the roof of an
   7 automobile[.]” Id. at 835. In comparing the protectable expression of the works, the
   8 Court concluded that “there is almost nothing similar between plaintiff’s Sculpture,
   9 on the one hand, and defendants’ allegedly infringing works, on the other.” Id. 836.
  10 The Court noted numerous differences in the works including that plaintiff’s
  11 Pegasus was “strikingly realistic and life-like” while defendant’s was “a pink,
  12 smiling, oversized stuffed animal.” Id. The Court noted that the vehicles in each
  13 work were “also highly dissimilar.” Id. In light of these stark differences, the Court
  14 determined that “plaintiff’s copyright infringement claim fails as a matter of law.”
  15 Id. at 839.
  16           Like Rentmeester and Croak, Plaintiff cannot plausibly allege that the
  17 protected elements of its work are substantially similar to the MOIC’s unicorn.
  18 Accordingly, this claim must be dismissed with prejudice. See Iqbal, 556 U.S. at
  19 678 (a complaint must “state a claim to relief that is plausible on its face.”)
  20 (emphasis added); Gallagher v. Lions Gate Entm’t, No. 2:15-cv-2739-ODW, 2015
  21 WL 12481504, at *2 (C.D. Cal. Sept. 11, 2015) (“[W]hen substantial similarity is
  22 absent after a review of the works at issue no amendment could cure the complaint’s
  23 deficiencies, thus, dismissal with prejudice is not uncommon.”)
  24           C.         Plaintiff’s Claim For Unjust Enrichment – Breach Of Confidence
                          Fails
  25
               Although Plaintiff has alleged that its unjust enrichment claim is grounded in
  26
       a “breach of confidence,” as a matter of law, Plaintiff cannot allege a key element of
  27
       this claim, specifically, that Plaintiff’s submitted idea was “novel.” See, e.g., 5
  28

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   1 Nimmer on Copyright § 19D.06 (“Novelty continues to be a necessary element of
   2 breach of confidence and confidential relationship claims even in California”);
   3 Aliotti v. R. Dakin & Co., 831 F.2d 898, 903 (9th Cir. 1987) (“To prevail on their
   4 claim for breach of confidence, appellants must show that they conveyed
   5 confidential and novel information . . .”; affirming summary judgment for
   6 defendants on breach of confidence claim); Fink v. Goodson-Todman Enters., Ltd.,
   7 9 Cal. App. 3d 996, 1009 (1970) (“The right of plaintiff’s work to protection by
   8 reason of sufficient novelty and elaboration of the accessible idea is a prerequisite . .
   9 . in the unjust enrichment-breach of confidence count.”).
  10           Here, the idea of a white unicorn is not “novel” because this idea is ubiquitous
  11 in popular culture. Indeed, the Merriam-Webster Dictionary defines a unicorn as a
  12 “mythical, usually white animal.” (RJN, Ex. A at 2 (emphasis added).) Similarly,
  13 the Encyclopedia Britannica notes that the earliest description of a unicorn dates
  14 back to 400 B.C.E. and was depicted “with a white body.” (RJN, Ex. B at 1
  15 (emphasis added).) Because Plaintiff cannot allege a key element of its breach of
  16 confidence claim, this claim must be dismissed.
  17           D.         Plaintiff’s Claim For Unfair Competition Continues To Be
                          Preempted By The Copyright Act
  18
               The Ninth Circuit employs a two-part test to determine whether the Copyright
  19
       Act preempts a state law claim. Preemption occurs where: (1) a plaintiff’s work
  20
       falls within the “subject matter” of the Copyright Act; and (2) the rights asserted by
  21
       a plaintiff under state law are “equivalent to” those protected by the Copyright Act.
  22
       Downing v. Abercrombie & Fitch, 265 F.3d 994, 1003 (9th Cir. 2001). With respect
  23
       to the first factor, to “come within the subject matter of copyright,” a work “does not
  24
       necessarily have to be actually protected by a specific copyright or even itself be
  25
       copyrightable; it just has to be ‘within the subject matter’ of the Act.” Firoozye v.
  26
       Earthlink Network, 153 F. Supp. 2d 1115, 1124 (N.D. Cal. 2001). With respect to
  27
       the second factor, “a right which is the ‘equivalent to copyright’ is one that is
  28

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   1 infringed by the mere act of reproduction.” Laws v. Sony Music Entm’t, 448 F.3d
   2 1134, 1146 (9th Cir. 2006). Thus, “[t]o survive preemption, the state cause of action
   3 must protect rights which are qualitatively different from the copyright rights.” Del
   4 Madera Props. v. Rhodes & Gardner, Inc., 820 F.2d 973, 977 (9th Cir. 1987)
   5 (emphasis added) (overruled on other grounds).
   6           Courts have uniformly held that when a state law claim is based entirely on
   7 the unlawful use of purported copyrighted works, the claim is completely preempted
   8 by the Copyright Act. See, e.g., Kodadek v. MTV Networks, Inc., 152 F.3d 1209,
   9 1212 (9th Cir. 1998); Firoozye, 153 F. Supp. 2d at 1129-30; Worth v. Universal
  10 Pictures, Inc., 5 F. Supp. 2d 816, 820-22 (C.D. Cal. 1998); Dielsi v. Falk, 916 F.
  11 Supp. 985, 993 (C.D. Cal. 1996).
  12           Here, Plaintiff’s unfair competition claim is based solely on the alleged
  13 unauthorized use of Plaintiff’s Work. Accordingly, this claim is preempted by the
  14 Copyright Act.
  15                      1.   Plaintiff’s Work Falls Within The Subject Matter Of
                               Copyright
  16
               Plaintiff’s claim for unfair competition is based on Defendants’ alleged use of
  17
       Plaintiff’s Work, i.e., the design proposals submitted to MOIC. [FAC, ¶ 67 (unfair
  18
       competition claim) (discussing “Defendants’ unauthorized use of [Plaintiff’s]
  19
       copyrighted work.”.) Undoubtedly, Plaintiff’s design proposals, which constitute
  20
       pictorial works, fall within the “subject matter of the Copyright Act” for purposes of
  21
       a preemption analysis. See 17 U.S.C. § 102(a)(5) (identifying “pictorial, graphic,
  22
       and sculptural works” as eligible for copyright protection).
  23
                          2.   Plaintiff’s Claim Is Equivalent To The Copyright Act
  24
               Additionally, Plaintiff’s unfair competition claim asserts rights which are
  25
       equivalent to those protected by the Copyright Act. Plaintiff’s unfair competition
  26
       claim is based on Defendants’ alleged unauthorized use of Plaintiff’s Work. [See
  27
       FAC, ¶¶ 67-68 (unfair competition claim) (“Defendants have engaged in unlawful,
  28

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   1 unfair, or fraudulent business acts of unfair competition in violation of Sections
   2 17200 et seq., and California common law. This conduct includes Defendants’
   3 unauthorized use of [Plaintiff’s] copyrighted work.”).] Because the unfair
   4 competition claim is not “qualitatively different” from rights protected by the
   5 Copyright Act, this claim is preempted and must be dismissed, as this Court
   6 previously concluded. [Order at 11-12]; see also Perfect 10, Inc. v. Cybernet
   7 Ventures, Inc., 167 F. Supp. 2d 1114, 1125 (C.D. Cal. 2001) (dismissing unfair
   8 competition claim on grounds of preemption); Motown Record Corp. v. George
   9 Hormel & Co., 657 F. Supp. 1236, 1239-40 (C.D. Cal. 1987) (unfair competition
  10 claim preempted where essence of claim is derived from defendants’ unauthorized
  11 use of copyrighted work).1
  12           E.         Plaintiff’s State Law Claims Against MOIC Fail
  13           Plaintiff has asserted its claims for breach of contract, unjust enrichment, and
  14 unfair competition against both MOIC and Ms. Bunn. However, Plaintiff has failed
  15 to allege sufficient facts to assert these claims against MOIC, and accordingly,
  16 MOIC must be dismissed from these claims.
  17           In its breach of contract claim, Plaintiff alleges that “Defendants have
  18 breached the [NDA] by, for example, using the design proposals in a public
  19 exhibition at the San Francisco Museum of Ice Cream location.” [FAC, ¶ 50.]
  20 However, the NDA was signed by Ms. Bunn only. (Pour-Moezzi Decl., Ex. B.)
  21 Indeed, the Court previously noted that “[t]here is no mention of 1AND8 [MOIC] in
  22 the NDA.” [Order at 12.] Because MOIC was not a signatory to the NDA,
  23 Plaintiff’s breach of contract claim against MOIC must be dismissed. See, e.g.,
  24 Ledet v. Cal. Waste Solutions, Inc., No. C-12-6255 JSC, 2013 WL 1120786, at *6
  25
  26   1
               Should the Court find that Plaintiff’s unfair competition claim also is based
  27           on a breach of confidence, then, this claim fails for the same reasons as the
               unjust enrichment claim, namely, that Plaintiff cannot plausibly allege that its
  28           submitted idea, a white unicorn, was novel.
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   1 (N.D. Cal. Mar. 18, 2013) (“Under California law, it is well settled that a non-party
   2 or non-signatory to a contract cannot be held liable for breach of that agreement”)
   3 (granting motion to dismiss with prejudice breach of the covenant of good faith and
   4 fair dealing claim against defendant, who was not party to underlying contract); Tri-
   5 Continent Int’l Corp. v. Paris Sav. & Loan Ass’n, 12 Cal. App. 4th 1354, 1359
   6 (1993) (“[plaintiff] cannot assert a claim for breach of contract against one who is
   7 not a party to the contract.”); Clemens v. Am. Warranty Corp., 193 Cal. App. 3d
   8 444, 452 (1987) (“only a signatory to a contract may be liable for any breach”)
   9 (“Because AWC and Sluggett were not parties to the [contract], they could not be
  10 liable for a tortious breach or for deceit in connection with the making of said
  11 contract. Neither cause of action could be stated as to them.”).
  12           Similarly, assuming the Court does not entirely dismiss the unjust enrichment
  13 and unfair competition claims, at a minimum, these claims must be dismissed
  14 against MOIC. In its unjust enrichment – breach of confidence claim, Plaintiff
  15 wrongly alleges that “Defendants signed an NDA, and . . . understood the design
  16 proposal contained confidential information.” [FAC, ¶ 57.] In fact, MOIC did not
  17 sign the NDA, nor is MOIC mentioned in the NDA. (Pour-Moezzi Decl., Ex. B.) A
  18 breach of confidence claim requires a plaintiff to plead that “there was an
  19 understanding between [plaintiff] and [defendant] that the confidence be
  20 maintained.” Aliotti, 831 F.2d at 903. Because MOIC was not a party to the NDA,
  21 Plaintiff cannot plausibly allege that MOIC agreed to receive the design proposals in
  22 confidence. Accordingly, this claim must fail against MOIC.
  23           Similarly, if the Court concludes that the unfair competition claim is not
  24 preempted, but rather, based on a breach of confidence, this claim too must fail
  25 against MOIC.
  26 IV.       CONCLUSION
  27           Defendants respectfully request that Plaintiff’s claims for copyright
  28 infringement, unjust enrichment, and unfair competition be dismissed against both

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   1 Defendants, and that Plaintiff’s breach of contract claim be dismissed against
   2 MOIC. Should the Court deny outright dismissal of the unjust enrichment and
   3 unfair competition claims, these claims should still be dismissed against MOIC.
   4 Because amendment would be futile, Defendants request that the Court deny leave
   5 to amend. See, e.g., Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1298 (9th Cir.
   6 1998) (“Although there is a general rule that parties are allowed to amend their
   7 pleadings, it does not extend to cases in which any amendment would be an exercise
   8 in futility or where the amended complaint would also be subject to dismissal.”).
   9 Dated: December 13, 2018
  10                                Respectfully submitted,
  11
                                    SHEPPARD, MULLIN, RICHTER & HAMPTON
  12                                LLP
  13
  14                                By             /s/ Carlo F. Van den Bosch
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                                                    GAZAL POUR-MOEZZI
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  17                                                  MARYELLIS BUNN
                                                1AND8 INC., dba MUSEUM OF ICE
  18                                                         CREAM
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